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                                              May 28, 2021

VIA ECF

Magistrate Judge Hildy Bowbeer
United States District Court
Warren E. Burger Federal Bldg. and U.S. Courthouse
316 North Robert Street, Suite 632
St. Paul, MN 55101

                         Re:      In re Cattle Antitrust Litigation, Case No. 19-cv-1222 JRT/HB

Dear Judge Bowbeer:

        Yesterday I, on behalf of Plaintiffs Ranchers Cattlemen Action Legal Fund United
Stockgrowers of America, Weinreis Brothers Partnership, Minatare Feedlot, Inc., Charles
Weinreis, Eric Nelson, James Jensen d/b/a Lucky 7 Angus and Richard Chambers as trustee of the
Richard C. Chambers Living Trust, filed a motion for withdrawal of my appearance (ECF No.
393) in the above- referenced case. Please take note that I hereby withdraw that motion and will
instead file a notice of withdrawal. My apologies for any inconvenience.

                                              Very truly yours,


                                              s/       Christopher P.T. Tourek


CPTT/smn




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